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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED AND Q
13               Plaintiffs,                   CYBER TECHNOLOGIES LIMITED’S
                                               ADMINISTRATIVE MOTION TO FILE
14         v.                                  UNDER SEAL
15   NSO GROUP TECHNOLOGIES LIMITED            Judge: Hon. Phyllis J. Hamilton
     and Q CYBER TECHNOLOGIES LIMITED,
16                                             Action Filed: 10/29/2019
                 Defendants.
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      DEFENDANTS’ ADMINISTRATIVE                                    Case No. 4:19-cv-07123-PJH
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 1          Pursuant to Civil Local Rules 7-11 and 79-5(d), Defendants NSO Group Technologies

 2   Limited and Q Cyber Technologies Limited (collectively, the “Defendants”), by and through their

 3   undersigned counsel, hereby submit this Administrative Motion to File Under Seal (the “Motion”):

 4 (1) certain language on pages 1-7, 9-12, and 14-15 of Defendants’ Reply in Support of Amended

 5 Motion for Protective Order (Declaration of Aaron S. Craig filed concurrently herewith (“Craig

 6 Decl.”) Exh. D); (2) paragraphs 2-7 of the Declaration of Roy Blecher (“Blecher Decl.”) in support

 7 of Defendants’ Reply in Support of Amended Motion for Protective Order (Craig Decl. Exh. E);

 8   and (3) certain language in paragraphs 3-8 and 10 of the concurrently filed Craig Declaration. (The

 9 unredacted Craig Declaration and Exhibits D and E thereto are collectively referenced as the

10 “Sealed Documents.”) The Sealed Documents are submitted to the Court for its consideration in

11 connection with Defendants’ concurrently filed Reply in Support of Amended Motion for

12   Protective Order.     This Motion is substantially similar to Defendants’ April 10, 2023

13   Administrative Motion [Dkt. No. 179], as the information in these Sealed Documents is closely

14   related to the information in the documents that were the subject of Docket No. 179.

15          The Motion is based upon the points and authorities set forth herein, as well as those facts

16   attested to in the accompanying Craig Declaration.

17 I.       BACKGROUND

18          The Complaint was filed October 29, 2019. (Dkt. No. 1.) Defendants were served on

19 March 12, 2020, and on April 2, 2020, Defendants moved to dismiss the complaint. (Dkt. No. 45.)

20   Plaintiffs served their RFPs on June 4, 2020, seeking swaths of information that would cause

21   Defendants to violate Israeli law if Defendants were forced to produce the information. (Craig.

22   Decl. ¶ 2.) This Court stayed discovery shortly after Plaintiffs served their RFPs. (Dkt. No. 155.)

23   After the stay ended, the Court held a status conference at which it instructed the parties to meet

24   and confer over the effect of Israeli law on Plaintiffs’ RFPs and if the parties cannot resolve the

25   issue, for Defendants to file a motion for protective order. The parties met and conferred but could

26   not reach a resolution, forcing Defendants to file a motion for protective order. (Craig Decl. ¶ 2.)

27          For information about additional matters relevant to this Motion, the Court is respectfully

28   referred to paragraphs 3 through 8 of the accompanying Craig Declaration.
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 1   II.    LEGAL STANDARDS

 2          Civil Local Rule 79-5 sets forth the procedural requirements for filing an administrative

 3 motion to seal records. The moving party must establish that the request is “narrowly tailored to

 4 seek sealing only of sealable material” and attach declarations to that effect. Civil L.R. 79-5(b),

 5   Civil L.R. 79-5(d)(1)(A). “Sealable” material includes documents, or portions thereof, that are

 6   “privileged, protectable as a trade secret or otherwise entitled to protection under the law.” Civil

 7   L.R. 79-5(b).

 8          Although courts recognize a general right to inspect and copy public records, “access to

 9 judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

10 (9th Cir. 2006). The showing necessary to seal materials depends on how closely related those

11   materials are to the merits of the case. A party seeking to seal materials submitted with a motion

12   that is “more than tangentially related to the merits of the case” must demonstrate that there are

13   compelling reasons to keep the documents under seal. Ctr. for Auto Safety v. Chrysler Grp., LLC,

14   809 F.3d 1092, 1101–02 (9th Cir. 2016). On the other hand, “[a] party seeking leave to file

15   documents under seal in conjunction with a non-dispositive motion” need only show “good cause

16 exists to file the information under seal.” Uniloc United States of Am., Inc. v. Apple Inc., No. 18-

17 cv-00362-PJH, 2018 WL 2392561, at *3 (N.D. Cal. May 25, 2018) (Hamilton, J.). Under the

18 “good cause” standard, the relevant inquiry is “whether good cause exists to protect the
19 information from being disclosed to the public by balancing the needs for discovery against the

20 need for confidentiality.” Wells Fargo & Co. v. ABD Ins. & Fin. Servs., No. C 12-3856 PJH, 2013

21 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013) (Hamilton, J.).

22          Here, the documents Defendants seek to file under seal are being submitted in conjunction

23 with Defendants’ Reply in Support of Amended Motion for Protective Order, which is not a

24 dispositive motion. Accordingly, the “good cause” standard applies to this Motion. (Even if the

25 higher “compelling reasons” standard applied, that standard is met here.)

26 III.     LEGAL ARGUMENT

27          This Motion is supported by good cause (and to the extent required, by compelling reasons)

28 based on the facts attested to in the Craig Declaration and the exhibits thereto. The Sealed
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 1   Documents contain highly sensitive, non-public information, the disclosure of which would

 2   prejudice Defendants and other parties not before the Court. See, e.g., Compal Elecs., Inc. v. Apple

 3   Inc., 2017 WL 11423604, at *3 (S.D. Cal. Sept. 5, 2017); Omari v. Ras Al Khaimah Free Trade

 4 Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017); Strauss v. Credit Lyonnais, S.A.,

 5 2011 WL 4736359, at *5 (E.D.N.Y. Oct. 6, 2011). Therefore, Defendants now seek leave of this

 6 Court to file the Sealed Documents under seal.

 7          Good cause exists to seal each of the Sealed Documents, and Defendants respectfully

 8   request that the Court grant this Motion and order the Sealed Documents be kept under seal. For

 9   a full description of that good cause, the Court is respectfully referred to paragraph 10 of the

10   accompanying Craig Declaration. Defendants have closely analyzed each of the documents being

11   filed and, for each, Defendants are asking the Court to file under seal only the bare minimum

12   amount necessary.

13   IV.    CONCLUSION

14          For the reasons set forth above and in the accompanying Craig Declaration, and the exhibits

15 thereto, Defendants respectfully request that the Court grant this Motion and order the Sealed

16 Documents to be kept under seal.

17   DATED: May 1, 2023                                KING & SPALDING LLP
18                                                     By: /s/Aaron S. Craig
                                                           JOSEPH N. AKROTIRIANAKIS
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                                                           TECHNOLOGIES LIMITED and Q
21                                                         CYBER TECHNOLOGIES LIMITED

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